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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION



In re                                             CASE NO:      16-03913-JAF

        LILLY J. REAL,

     Debtor.
____________________________ /

            MOTION FOR SANCTIONS AGAINST CREDITOR, FRANK POLO

       The Debtor, LILLY REAL, moves the Court to enter sanctions against Creditor, Frank
Polo for violating her discharge injunction and states:

      1. Lilly Real was previously appointed by the family court in Dade County Florida to do a
home study in which creditor, Frank Polo was a father.

      2. Thereafter, Debtor moved to Jacksonville Florida and filed a Chapter 7 Bankruptcy on
October 24, 2016.

      3. The Debtor had no reason to believe that Creditor, Frank Polo would claim she owed
him any money, so was not initially listed as a creditor.

       4. Thereafter, Frank Polo sued the Debtor in Dade County Florida for issues arising out of
her acts as a court appointed Guardian ad Litem to conduct a home study.

       5. Upon learning of this lawsuit, Debtor amended her schedules on April 4, 2017 to
include Frank Polo as a creditor. Additionally, a Suggestion of Bankruptcy was filed in the case
to advise the court of the Debtor’s bankruptcy.

        6. Thereafter, creditor continued with the litigation in Dade County Florida.

       7. On July 26, 2017 the undersigned attorney advised Frank Polo, by email, that his
actions were in violation of Ms. Real’s discharge injunction, and further advised him that he
would be subject to sanctions if he continued.

       8. Notwithstanding the above, Creditor Frank Polo has continued with the litigation in
Dade County Florida, causing the Debtor to incur legal fees, as well as emotional stress and
further, exposes her to expenses of travel, further emotional stress and further legal fees.

      9. Debtor has incurred legal fees for the undersigned for the bringing of this action against
Frank Polo.

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       WHEREFORE, the Debtor prays the Court to enter an Order imposing sanctions against
Frank Polo, award attorney’s fees for the bringing of this motion for sanctions and further
enjoining him many further attempts to collect alleged debts against Debtor Lilly Real


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished to his
regular place of business: Frank E. Polo, 1475 SW 8th Street, Apt. 411, Miami, FL 33135 by
Certified and regular U.S. Mail this 22nd day of September, 2017.



                                                /s/ Edward P. Jackson
                                              EDWARD P. JACKSON
                                              Attorney for Debtor
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